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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

M.M.V.; A.A.M., a minor; S.L.V.; M.F.L., a minor; )
J.G.G.; E.G.G., a minor; J.G.O.; I.M.G., a minor; )
A.O.V.; J.S.O., a minor; M.R.A.; L.C.R., a minor; )
A.L.V.; I.G.L, a minor; A.G.L., a minor; L.O.R.; )
A.P.O., a minor; N.P.; R.D.P., a minor; M.D.E.;     )   Case No. 1:19-cv-2773
A.G.D., a minor; M.M.B.; N.M.M., a minor;           )
D.C.V.; S.V.C., a minor; L.A.C.; B.A.G., a minor; )
M.G.V.; A.R.G., a minor; R.P.F.; J.F.P., a minor; )     COMPLAINT FOR
S.T.T.; E.T.T., a minor; R.G.R.; B.B.G., a minor; )     DECLARATORY AND
D.B.G., a minor; J.M.R.; C.G.M., a minor; M.R.A.; )     INJUNCTIVE RELIEF
V.A.R., a minor; H.M.M.; T.A.M., a minor; J.S.M., )
D.M.S., a minor; Y.U.; F.G.U., a minor; I.F.L.;     )
R.F.L., a minor; R.C.C.; D.L.C., a minor; N.M.L.; )
A.R.M., a minor; M.C.D.; E.E.C., a minor; Y.O.T.; )
D.L.O., a minor; V.L.O., a minor; M.A.A.; A.R.A., )
a minor; C.A.A., a minor; M.C.M; S.M.C., a minor; )
I.A.D.; C.L.A., a minor; C.C.N.; B.S.C., a minor; )
C.P.G.; M.B.P., a minor; L.P.E.; C.C.P., a minor; )
D.C.P., a minor; L.H.H.; Y.F.H., a minor; A.A.T.; )
C.A.T., a minor; V.O.V.; E.H.O., a minor; I.H.O., a )
minor; W.P.R.; J.C.P., a minor; H.C.P., a minor;    )
D.M.G.; N.E.M, a minor; A.B.C.; E.C.B.; a minor; )
P.A.; I.A., a minor; G.A.Q.; N.A.Q., a minor;       )
A.A.Q., a minor; S.G.H.; A.G.H., a minor; M.S.M.; )
C.C.S., a minor; I.S.R.; J.A.S., a minor; J.S.P.;   )
M.A.S., a minor; N.C.A.; M.P.C., a minor; J.L.C., a )
minor; M.A.M.; G.M.A., a minor; D.V.R.; A.V.R., )
a minor; D.S.P.; V.V.P., a minor; D.G.A.; E.P.G., a )
minor; M.P.G., a minor; K.P.P.; M.P.P., a minor; )
I.P.P., a minor; M.G.P.; M.U.G., a minor; J.A.L., a )
minor; F.G.; I.G., a minor; J.T.; Y.J.T., a minor;  )
M.V.C.; E..P.V., a minor; K.N.E; and E.A.N., a      )
minor; M.H.; J.M.H., a minor.                       )
                Plaintiffs,                         )
                                                    )
v.                                                  )
                                                    )
WILLIAM P. BARR, Attorney General of the            )
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United States; JAMES MCHENRY, Director,            )
Executive Office for Immigration Review; KEVIN )
K. MCALEENAN, Acting Secretary, United States )
Department of Homeland Security; MARK              )
MORGAN, Acting Commissioner, United States )
Customs and Border Protection; MATTHEW T.          )                            JURY TRIAL DEMAND
ALBENCE, Acting Director, United States            )
Immigration and Customs Enforcement;               )
KENNETH T. CUCCINELLI, Purported Acting            )
Director, United States Citizenship and Immigration)
Services; and ANDREW DAVIDSON, Acting              )
USCIS Asylum Division Chief,                       )
                                                   )
Defendants.                                        )

                                                INTRODUCTION

           1.       On July 16, 2019, the Administration published new and immediately effective

“Asylum Eligibility and Procedural Modifications.” 84 FR 33829. The legality of the July 16,

2019 regulation is currently at issue in separate litigation.1 However, subsequent to that

announcement, Defendants have eviscerated the “credible fear” process and have implemented

ever-shifting directives, guidance and procedures that place parents and children in immigration

detention at risk of wrongful deportation, persecution, and death.

           2.       Upon reason and belief, since July 16, 2019 the credible fear passage rates at the

South Texas Family Residential Center in Dilley, Texas—the largest family detention center in

the United States with a bed and crib capacity of 2,400 for asylum seeking mothers and

children—have diminished from approximately 97% of credible fear applicants, to fewer than

10% of applicants.




1
    ​See Barr v. East Bay Sanctuary Covenant,​ 588 U.S. ___ (Sept. 11, 2019).

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        3.      On information and belief, since July 16, 2019, the Defendants have implemented

new regulations, directives, guidance and/or procedures concerning the evaluation of “credible

fear” in people seeking protection from persecution and torture.

        4.      On information and belief, said regulations, directives, guidance and/or

procedures are written and have not been made public; however, each of the Plaintiffs have been

subjected to written decisions that confirm said changes concerning the evaluation of “credible

fear.” Presumably, written guidance has been disseminated by the Defendants to their agents and

employees conducting these “credible fear” evaluations. As a result of these new regulations,

directives, guidance and/or procedures, the immigration authorities summarily rejected

Plaintiffs’ claims of fear.

        5.      Plaintiffs challenge the new regulations, directives, guidance and/or procedures

concerning the evaluation of “credible fear,”2 and seek declaratory and injunctive relief finding

the application of new credible fear standard(s) to them unlawful, barring further application of

such policies and procedures to them, and requiring the government Defendants to reprocess

their fear claims under the prior existing and established policies, directives, guidance and

procedures.

        6.      DHS failed to follow appropriate notice and comment requirements, and in

addition, the new regulations, directives, guidance and/or procedures concerning the evaluation

of “credible fear” are arbitrary, capricious and contrary to law in violation of the Administrative

Procedure Act, 5 U.S.C. §§ 553, 706(2).


2
 This Complaint does ​not ​challenge the legality of 84 FR 33829, which is being addressed in
other litigation. Instead, this Complaint challenges the legality of the Defendants’ additional
regulations and directives created as a result of 84 FR 33829 to modify the credible fear review
process.
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                                        JURISDICTION

       7.      This case arises under the United States Constitution; the Administrative

Procedure Act (“APA”), 5 U.S.C. § 701 ​et seq​.; the Immigration and Nationality Act (“INA”), 8

U.S.C. § 1101 ​et seq​. and its implementing regulations; and the Convention Against Torture

              ​ oreign Affairs Reform and Restructuring Act of 1998 (“FARRA”), Pub. L. No.
(“CAT”), ​see F

105-277, div. G, Title XXII, § 2242, 112 Stat. 2681, 2681-822 (1998) (codified as Note to 8

U.S.C. § 1231).

       8.      The Court has jurisdiction under 8 U.S.C. § 1252(e)(3). Section 1252(e)(3) is a

provision of the INA that provides exclusive jurisdiction in the United States District Court for

the District of Columbia over systemic challenges to “the validity of the [expedited removal]

system,” including regulations and “written” policies regarding expedited removal. The Court

also has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question jurisdiction with a waiver of

sovereign immunity pursuant to the Administrative Procedure Act, 5 U.S.C. §701 et seq.); and

28 U.S.C. § 1346 (United States as defendant). Jurisdiction lies to grant declaratory relief

pursuant to 28 U.S.C. §§ 2201-2202 (Declaratory Judgment Act).

       9.      8 U.S.C. § 1252(e)(3)(B) requires that suit be brought within sixty days of the

date of implementation of “the challenged section, regulation, directive, guideline, or procedure.”

The policies in question arose as a result of the Department of Homeland Security’s rule issued

on July 16, 2019. 84 FR 33829. On information and belief, guidance on credible fear

adjudication was issued by the Attorney General on or after this date. Sixty days elapsed on

Saturday, September 14, 2019. However, as per F.R.C.P. 6(a)(1)(C), because the last day of the

sixty-day time period was a Saturday, the time period for filing to challenge the regulation



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extended to “the next day that is not a Saturday, Sunday, or legal holiday” - Monday, September

16, 2019. Plaintiffs’ challenge to all subsequent directives, guidelines and procedures is thus also

timely.

                                              VENUE

          10.    Venue is proper in this District because 8 U.S.C. § 1252(e)(3)(A) requires that all

8 U.S.C. § 1252(e)(3) actions be brought in the United States District Court for the District of

Columbia.

          11.    Venue in the District of Columbia is further proper pursuant to 28 U.S.C. §

1391(e), as the location where the government Defendants reside and where a substantial part of

the events giving rise to the claims occurred.

                                             PARTIES

          12.    Plaintiffs are mothers and children detained at the South Texas Texas Family

Residential Center who have been issued negative credible fear determinations.

          13.    Plaintiffs M.M.V. and her minor son A.A.M. are Salvadoran nationals who seek

protection from persecution and torture in the United States. M.M.V. and A.A.M. were placed in

credible fear proceedings on or around August 22, 2019 attended their initial credible fear

interview on August 29, 2019 and were served with negative credible fear determinations on

August 30, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

          14.    Plaintiffs S.L.V. and her minor daughter M.F.L. are Salvadoran nationals who

seek protection from persecution and torture in the United States. S.L.V. and M.F.L. were placed

in credible fear proceedings on or around August 22, 2019 attended their initial credible fear



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interview on August 29, 2019 and were served with negative credible fear determinations on

September 2, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         15.    Plaintiffs J.G.G. and her minor daughter E.G.G. are Salvadoran nationals who

seek protection from persecution and torture in the United States. J.G.G. and E.G.G. were placed

in credible fear proceedings on or around August 24, 2019 attended their initial credible fear

interview on August 29, 2019 and were served with negative credible fear determinations on

September 2, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         16.    Plaintiffs J.G.O. and her minor son I.M.G. are Honduran nationals who seek

protection from persecution and torture in the United States. J.G.O. and I.M.G. were placed in

credible fear proceedings on or around August 24, 2019 attended their initial credible fear

interview on August 29, 2019 and were served with negative credible fear determinations on

September 2, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         17.    Plaintiffs A.O.V. and her minor son J.S.O. are Honduran nationals who seek

protection from persecution and torture in the United States. A.O.V.. and J.S.O. were placed in

credible fear proceedings on or around August 25, 2019 attended their initial credible fear

interview on August 30, 2019 and were served with negative credible fear determinations on

September 3, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.




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         18.    Plaintiffs M.R.A. and her minor daughter L.C.R. are Honduran nationals who

seek protection from persecution and torture in the United States. M.R.A. and L.C.R. were

placed in credible fear proceedings on or around August 28, 2019 attended their initial credible

fear interview on September 3, 2019 and were served with negative credible fear determinations

on September 3, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         19.    Plaintiffs A.L.V. and her minor sons I.G.L. and A.G.L. are Honduran nationals

who seek protection from persecution and torture in the United States. A.L.V., I.G.L., and

A.G.L. were placed in credible fear proceedings on or around August 28, 2019 attended their

initial credible fear interview on September 3, 2019 and were served with negative credible fear

determinations on September 3, 2019. They are detained at the South Texas Family Residential

Center in Dilley, Texas.

         20.    Plaintiffs L.O.R. and her minor son A.P.O. are Honduran nationals who seek

protection from persecution and torture in the United States. L.O.R. and A.P.O. were placed in

credible fear proceedings on or around August 16, 2019 attended their initial credible fear

interview on September 3, 2019 and were served with negative credible fear determinations on

September 3, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         21.    Plaintiffs N.P. and her minor daughter R.D.P. are Honduran nationals who seek

protection from persecution and torture in the United States. N.P. and R.D.P. were placed in

credible fear proceedings on or around August 16, 2019 attended their initial credible fear

interview on August 27, 2019 and were served with negative credible fear determinations on



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August 29, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         22.    Plaintiffs M.D.E. and her minor son A.G.D. are Salvadoran nationals who seek

protection from persecution and torture in the United States. M.D.E. and A.G.D. were placed in

credible fear proceedings on or around August 21, 2019 attended their initial credible fear

interview on August 29, 2019 and were served with negative credible fear determinations on

August 29, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         23.    Plaintiffs M.M.B. and her minor daughter N.M.M. are Nicaraguan nationals who

seek protection from persecution and torture in the United States. M.M.B. and N.M.M. were

placed in credible fear proceedings on or around August 21, 2019 attended their initial credible

fear interview on August 30, 2019 and were served with negative credible fear determinations on

August 31, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         24.    Plaintiffs D.C.V. and her minor son S.V.C. are Guatemalan nationals who seek

protection from persecution and torture in the United States. D.C.V. and S.V.C. were placed in

credible fear proceedings on or around August 22, 2019 attended their initial credible fear

interview on August 27, 2019 and were served with negative credible fear determinations on

August 30, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         25.    Plaintiffs L.A.C. and her minor child B.A.G. are Salvadoran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear



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proceedings on or around August 20, 2019, attended their initial credible fear interview on

August 23, 2019, and were served with negative credible fear determinations on August 30,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       26.    Plaintiffs M.G.V. and her minor child A.R.G. are Salvadoran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 25, 2019, attended their initial credible fear interview on

September 2, 2019, and were served with negative credible fear determinations on September 3,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       27.    Plaintiffs R.P.F. and her minor child J.F.P. are Salvadoran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 26, 2019, attended their initial credible fear interview on

September 2, 2019, and were served with negative credible fear determinations on September 2,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       28.    Plaintiffs S.T.T. and her minor child E.T.T. are Honduran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 27, 2019, attended their initial credible fear interview on

September 2, 2019, and were served with negative credible fear determinations on September 2,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       29.    Plaintiffs R.G.R. and her minor children B.B.G. and D.B.G. are Salvadoran

nationals who seek protection from persecution and torture in the United States. They were

placed in credible fear proceedings on or around August 25, 2019, attended their initial credible

fear interview on September 2, 2019, and were served with negative credible fear determinations



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on September 3, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         30.     Plaintiffs J.M.R. and her minor child C.G.M. are Honduran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 20, 2019, attended their initial credible fear interview on

August 27, 2019, and were served with negative credible fear determinations on August 29,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

         31.     Plaintiffs M.C.M. and her minor daughter S.M.C. are Honduran nationals who

seek protection from persecution and torture in the United States. M.C.M. and S.M.C. were

placed in credible fear proceedings on or around August 26, 2019 attended their initial credible

fear interview on September 2, 2019 and were served with negative credible fear determinations

on September 2, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         32.     Plaintiffs P.A. and her minor daughter I.A. are Romanian nationals who seek

protection from persecution and torture in the United States. P.A. and I.A. were placed in

credible fear proceedings on or around August 31, 2019 attended their initial credible fear

interview on September 5, 2019 and were served with negative credible fear determinations on

September 11, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         33.     Plaintiffs G.A.Q. and her minor son N.A.Q. are Salvadoran nationals who seek

protection from persecution and torture in the United States. G.A.Q. and N.A.Q. were placed in

credible fear proceedings on or around September 4, 2019 attended their initial credible fear



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interview on September 5, 2019 and were served with negative credible fear determinations on

September 6, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         34.     Plaintiffs S.G.H. and her minor child A.G.H. are Salvadoran nationals who seek

protection from persecution and torture in the United States. S.G.G.H. and A.G.H. were placed in

credible fear proceedings on or around August 30, 2019 attended their initial credible fear

interview on September 5, 2019 and were served with negative credible fear determinations on

September 12, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         35.     Plaintiffs M.S.M. and her minor daughter C.C.A. are Honduran nationals who

seek protection from persecution and torture in the United States. M.S.M. and C.C.A. were

placed in credible fear proceedings on or around August 27, 2019 attended their initial credible

fear interview on September 3, 2019 and were served with negative credible fear determinations

on September 3, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         36.     Plaintiffs I.S.R. and her minor son J.A.S. are Honduran nationals who seek

protection from persecution and torture in the United States. I.S.R. and J.A.S. were placed in

credible fear proceedings on or around August 16, 2019 attended their initial credible fear

interview on August 30, 2019 and were served with negative credible fear determinations on

September 12, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.




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         37.     Plaintiffs J.S.P. and her minor son M.A.S. are Honduran nationals who seek

protection from persecution and torture in the United States. J.S.P. and M.A.S. were placed in

credible fear proceedings on or around August 16, 2019 attended their initial credible fear

interview on September 5, 2019 and were served with negative credible fear determinations on

September 12, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         38.     Plaintiffs N.C.A. and her minor children M.P.C. and J.L.C. are Honduran

nationals who seek protection from persecution and torture in the United States. They were

placed in credible fear proceedings on or around August 27, 2019 attended their initial credible

fear interview on September 3, 2019 and were served with negative credible fear determinations

on September 12, 2019. They are detained at the South Texas Family Residential Center in

Dilley, Texas.

         39.     Plaintiffs M.A.M. and her minor daughter G.M.A. are Honduran nationals who

seek protection from persecution and torture in the United States. M.A.M. and G.M.A. were

placed in credible fear proceedings on or around August 29, 2019 attended their initial credible

fear interview on September 5, 2019 and were served with negative credible fear determinations

on September 12, 2019. They are detained at the South Texas Family Residential Center in

Dilley, Texas.

         40.     Plaintiffs D.V.R. and her minor son A.V.R. are Honduran nationals who seek

protection from persecution and torture in the United States. D.V.R. and A.V.R. were placed in

credible fear proceedings on or around August 22, 2019 attended their initial credible fear

interview on August 29, 2019 and were served with negative credible fear determinations on



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September 12, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         41.     Child J.A.L. is a Guatemalan national who entered the United States accompanied

by his mother, who was placed in reasonable fear proceedings. J.A.L. was placed in credible fear

proceedings on or around August 30, 2019 attended an initial credible fear interview on

September 10, 2019 and was served with a negative credible fear determination on September

12, 2019.

         42.     Plaintiffs D.S.P. and her minor son V.V.P. are Salvadoran nationals who seek

protection from persecution and torture in the United States. D.V.S.P. and V.M.V.P. were placed

in credible fear proceedings on or around August 28, 2019 attended their initial credible fear

interview on September 10, 2019 and were served with negative credible fear determinations on

September 12, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         43.     Plaintiffs D.G.A. and her minor children M.P.G. and E.P.G. are Honduran

nationals who seek protection from persecution and torture in the United States. They were

placed in credible fear proceedings on or around August 29, 2019 attended their initial credible

fear interview on September 4, 2019 and were served with negative credible fear determinations

on September 11, 2019. They are detained at the South Texas Family Residential Center in

Dilley, Texas.

         44.     Plaintiffs K.P.P. and her minor children I.P.P. and M.P.P. are Ecuadorean

nationals who seek protection from persecution and torture in the United States. They were

placed in credible fear proceedings on or around September 9, 2019 attended their initial credible



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fear interview on September 12, 2019 and were served with negative credible fear determinations

on September 12, 2019. They are detained at the South Texas Family Residential Center in

Dilley, Texas.

         45.     Plaintiffs M.G.P. and her minor daughter M.U.G. are Salvadoran nationals who

seek protection from persecution and torture in the United States. M.G.P. and M.U.G. were

placed in credible fear proceedings on or around September 7, 2019 attended their initial credible

fear interview on September 11, 2019 and were served with negative credible fear determinations

on September 13, 2019. They are detained at the South Texas Family Residential Center in

Dilley, Texas.

         46.     Plaintiffs M.V.C. and her minor son E.P.V. are Guatemalan nationals who seek

protection from persecution and torture in the United States. M.V.C. and E.P.V. were placed in

credible fear proceedings on or around August 22, 2019 attended their initial credible fear

interview on September 5, 2019 and were served with negative credible fear determinations on

September 16, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         47.     Plaintiffs K.N.E. and her minor son E.A.N. are Honduran nationals who seek

protection from persecution and torture in the United States. K.N.E. and E.A.N. were placed in

credible fear proceedings on or around September 8, 2019 attended their initial credible fear

interview on September 12, 2019 and were served with negative credible fear determinations on

September 16, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.




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         48.     Plaintiffs F.G. and her minor child I.G. are Romanian nationals who seek

protection from persecution and torture in the United States. F.G. and I.G. were placed in

credible fear proceedings on or around September 4, 2019 attended their initial credible fear

interview on September 10, 2019 and were served with negative credible fear determinations on

September 16, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         49.     Plaintiffs J.B.T. and her minor daughter Y.J.T. are Indian nationals who seek

protection from persecution and torture in the United States. J.B.T. and Y.J.T. were placed in

credible fear proceedings on or around August 16, 2019 attended their initial credible fear

interview on August 23, 2019 and were served with negative credible fear determinations on

August 27, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         50.     Plaintiffs I.A.D. and her minor daughter C.L.A. are Ecuadorian nationals who

seek protection from persecution and torture in the United States. I.A.D. and C.L.A. were placed

in credible fear proceedings on or around August 24, 2019 attended their initial credible fear

interview on August 30, 2019 and were served with negative credible fear determinations on

September 4, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         51.     Plaintiffs C.C.N. and her minor son B.S.C. are Salvadoran nationals who seek

protection from persecution and torture in the United States. C.C.N. and B.S.C. were placed in

credible fear proceedings on or around August 27, 2019 attended their initial credible fear

interview on September 4, 2019 and were served with negative credible fear determinations on



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September 6, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         52.     Plaintiffs C.P.G. and her minor son M.B.P. are Guatemalan nationals who seek

protection from persecution and torture in the United States. C.P.G. and M.B.P. were placed in

credible fear proceedings on or around August 20, 2019 attended their initial credible fear

interview on August 30, 2019 and were served with negative credible fear determinations on

September 6, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         53.     Plaintiffs L.P.E. and her minor sons C.C.P. and D.C.P. are Honduran nationals

who seek protection from persecution and torture in the United States. L.P.E, C.C.P., and D.C.P.

were placed in credible fear proceedings on or around August 29, 2019 attended their initial

credible fear interview on September 5, 2019 and were served with negative credible fear

determinations on September 10, 2019. They are detained at the South Texas Family Residential

Center in Dilley, Texas.

         54.     Plaintiffs L.H.H. and her minor daughter Y.F.H. are Honduran nationals who seek

protection from persecution and torture in the United States. L.H.H. and Y.F.H. were placed in

credible fear proceedings on or around August 25, 2019 attended their initial credible fear

interview on September 2, 2019 and were served with negative credible fear determinations on

September 2, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         55.     Plaintiffs A.A.T. and her minor son C.A.T. are Salvadoran nationals who seek

protection from persecution and torture in the United States. A.A.T. and C.A.T. were placed in



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credible fear proceedings on or around August 28, 2019 attended their initial credible fear

interview on September 4, 2019 and were served with negative credible fear determinations on

September 11, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         56.     Plaintiffs V.O.V. and her minor children E.H.O. and I.H.O. are Honduran

nationals who seek protection from persecution and torture in the United States.V.O.V., E.H.O.,

and I.H.O. were placed in credible fear proceedings on or around August 25, 2019 attended their

initial credible fear interview on September 3, 2019 and were served with negative credible fear

determinations on September 11, 2019. They are detained at the South Texas Family Residential

Center in Dilley, Texas.

         57.     Plaintiffs W.P.R. and her minor children J.C.P. and H.C.P. are Salvadoran

nationals who seek protection from persecution and torture in the United States.W.P.R., J.C.P.,

and H.C.P. were placed in credible fear proceedings on or around August 21, 2019 attended their

initial credible fear interview on August 30, 2019 and were served with negative credible fear

determinations on September 11, 2019. They are detained at the South Texas Family Residential

Center in Dilley, Texas.

         58.     Plaintiffs D.M.G.. and her minor daughter N.E.M.. are Honduran nationals who

seek protection from persecution and torture in the United States. D.M.G. and N.E.M. were

placed in credible fear proceedings on or around August 29, 2019 attended their initial credible

fear interview on September 5, 2019 and were served with negative credible fear determinations

on September 11, 2019. They are detained at the South Texas Family Residential Center in

Dilley, Texas.



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         59.     Plaintiffs A.B.D. and her minor daughter E.C.B. are Salvadoran nationals who

seek protection from persecution and torture in the United States. A.B.D. and E.C.B.. were

placed in credible fear proceedings on or around August 29, 2019 attended their initial credible

fear interview on September 4, 2019 and were served with negative credible fear determinations

on September 11, 2019. They are detained at the South Texas Family Residential Center in

Dilley, Texas.

         60.     Plaintiffs M.H. and her minor son J.M.H. are Honduran nationals who seek

protection from persecution and torture in the United States. M.H. and J.M.H. were placed in

credible fear proceedings on or around August 29, 2019 attended their initial credible fear

interview on September 4, 2019 and were served with negative credible fear determinations on

September 6 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         61.     Plaintiffs M.R.A. and her minor child V.A.R. are Salvadoran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 14, 2019, attended their initial credible fear interview on

August 26, 2019, and were served with negative credible fear determinations on August 29,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

         62.     Plaintiffs H.M.M. and her minor child T.A.M. are Honduran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 25, 2019, attended their initial credible fear interview on

August 29, 2019, and were served with negative credible fear determinations on August 29,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.



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       63.     Plaintiffs J.S.M. and her minor child D.M.S. are Salvadoran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 21, 2019, attended their initial credible fear interview on

August 29, 2019, and were served with negative credible fear determinations on August 30,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       64.     Plaintiffs Y.U. and her minor child F.G.U. are Salvadoran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 23, 2019, attended their initial credible fear interview on

August 29, 2019, and were served with negative credible fear determinations on September 2,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       65.     Plaintiffs I.F.L. and her minor child R.F.L. are Salvadoran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 24, 2019, attended their initial credible fear interview on

September 2, 2019, and were served with negative credible fear determinations on September 2,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       66.     Plaintiffs R.C.C. and her minor child D.L.C. are Honduran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 21, 2019, attended their initial credible fear interview on

August 29, 2019, and were served with negative credible fear determinations on August 30,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       67.     Plaintiffs N.M.L. and her minor child A.R.M. are Honduran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear



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proceedings on or around August 28, 2019, attended their initial credible fear interview on

September 4, 2019, and were served with negative credible fear determinations on or about

September 5, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         68.     Plaintiffs M.C.D. and her minor child E.E.C. are Honduran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 13, 2019, attended their initial credible fear interview on

August 30, 2019, and were served with negative credible fear determinations on or about

September 5, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         69.     Plaintiffs Y.O.T. and her minor children D.L.O. and V.L.O. are Salvadoran

nationals who seek protection from persecution and torture in the United States. They were

placed in credible fear proceedings on or around August 21, 2019, attended their initial credible

fear interview on September 4, 2019, and were served with negative credible fear determinations

on September 5, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.

         70.     Plaintiffs M.A.A. and her minor children A.R.A. and C.A.A. are Salvadoran

nationals who seek protection from persecution and torture in the United States. They were

placed in credible fear proceedings on or around August 29, 2019, attended their initial credible

fear interview on September 4, 2019, and were served with negative credible fear determinations

on September 4, 2019. They are detained at the South Texas Family Residential Center in Dilley,

Texas.



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       71.     Plaintiffs M.C.M. and her minor child S.M.C. are Honduran nationals who seek

protection from persecution and torture in the United States. They were placed in credible fear

proceedings on or around August 26, 2019, attended their initial credible fear interview on

September 2, 2019, and were served with negative credible fear determinations on September 2,

2019. They are detained at the South Texas Family Residential Center in Dilley, Texas.

       72.     Defendant William P. Barr is the Attorney General of the United States and the

head of the United States Department of Justice (“DOJ”). Defendant Barr is responsible for

advising the government Defendants on the lawful administration and enforcement of the

immigration laws and policies, including the execution of any new policies or procedures for

asylum seekers, pursuant to 8 U.S.C. § 1103. Defendant Barr has ultimate authority over the

Executive Office for Immigration Review (“EOIR”), the agency within DOJ responsible for the

immigration court system. He is sued in his official capacity.

       73.     Defendant James McHenry is the Director of the Executive Office for

Immigration Review “EOIR,” the federal agency within the DOJ that includes immigration

judges, the immigration courts, and the Board of Immigration Appeals (“BIA”). EOIR is

responsible for conducting administrative adjudicative proceedings, including adjudicating

applications for asylum, withholding of removal, and relief under the Convention Against

Torture, bond redeterminations, custody redeterminations, and hearings to determine appropriate

restrictions on liberty for individuals detained by ICE. He is sued in his official capacity.

       74.     Defendant Kevin K. McAleenan is the Acting Secretary of the Department of

Homeland Security (“DHS”), the Department of the Executive Branch of the United States

government that oversees the component agencies responsible for enforcing the immigration



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laws of the United States. Those component agencies include U.S. Immigration and Customs

Enforcement (“ICE”); U.S. Customs and Border Protection (“CBP”); and U.S. Citizenship and

Immigration Services (“USCIS”). Defendant McAleenan directs and is responsible for the

administration and enforcement of the immigration laws in the United States. He is sued in his

official capacity.

        75.     Defendant Matthew T. Albence is the Acting Director of ICE, the agency within

DHS that is responsible for carrying out removal orders, oversees enforcement and removal

operations, and is responsible for the detention of noncitizens throughout the United States.

Defendant Albence has direct authority over all ICE policies, procedures and practices relating to

the detention and deportation of noncitizens. He is sued in his official capacity.

        76.     Defendant Mark Morgan is the Acting Commissioner of CBP, the agency within

DHS that is responsible for the initial processing and detention of noncitizens apprehended near

the United States Border. In that capacity, Defendant Morgan has direct authority over all CBP

policies, procedures and practices relating to the apprehension of asylum seekers. He is sued in

his official capacity.
                                                                                                         3
        77.     Defendant Kenneth T. Cuccinelli is purportedly the Acting Director of USCIS,

the agency within DHS that is responsible for the adjudication of immigration benefits to

noncitizens in the United States, including all functions of the Asylum Office. In that capacity,

Defendant Cuccinelli has direct authority over all USCIS policies, procedures and practices

relating to benefits adjudication. He is sued in his official capacity.

3
 A complaint for declaratory and injunctive relief was filed in federal district court for the District of
Columbia on September 6, 2019, alleging that Mr. Cuccinelli does not satisfy the legal requirements to
serve as the director under Federal Vacancies Reform Act (“FVRA”) and the Constitution. That lawsuit is
ongoing.


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       78.     Defendant Andrew Davidson is the Acting USCIS Asylum Division Chief, the

division within USCIS that is responsible for conducting credible fear interviews, reasonable fear

interviews, and asylum interviews for affirmative asylum applicants. In that capacity, Defendant

Davidson has direct authority over all USCIS policies, procedures and practices relating to

“credible fear” screening procedures for persons seeking protection from persecution or torture.

He is sued in his official capacity.

                                             FACTS

A.     U.S. ​Obligations to Provide Safe Harbor to Persons Fearing Persecution or Torture

       79.     The current asylum system was enacted in 1980, as part of the Refugee Act of

1980, Pub. L. 96-212, 94 Stat. 102, and was intended to bring U.S. law into conformity with our

obligations under the United Nations Convention Relating to the Status of refugees and 1967

United Nations Protocol Relating to the Status of Refugees. Consistent with international law,

the definition of “refugee” does not require a showing of ​certain harm. Instead, individuals can

establish eligibility for asylum based on a “well-founded fear of persecution.” The Supreme

Court has explained that a showing of a 1 in 10 chance of persecution is sufficient to satisfy that

standard. ​See INS v. Cardozo-Fonseca,​ 480 U.S. 421, 430, 440 (1987).

       80.     Defendants purport to have exercised discretion in constructing the new July 16,

2019 regulation to bar Plaintiffs from applying for asylum pursuant to 8 U.S.C. § 1158.

However, even if Plaintiffs are barred from asylum relief as a matter of discretion (which they do

not concede), the Defendants must still comply with the non-refoulement obligations of the

United States (withholding of removal and relief under the Convention Against Torture).




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       81.      The principle of non-refoulement was first articulated in Article 33 of the 1951

Convention Relating to the Status of Refugees (“Refugee Convention”) as follows:

       No Contracting State shall expel or return (refouler) a refugee in any manner whatsoever
       to the frontiers of territories where his [or her] life or freedom would be threatened on
       account of his [or her] race, religion, nationality, membership of a particular social group
       or political opinion.

       82.      The Defendants’ non-refoulement obligations are found in Article 33 of the

Refugee Convention,4 and also Article 3 of the Convention Against Torture (“CAT”) and the

domestic statutes that implement these two treaties.

       83.      As part of the Refugee Act of 1980, Congress enacted the withholding of removal

statute, codified at 8 U.S.C. § 1231(b)(3), to “implement the principles agreed to” in the Refugee

Convention, with the specific intent to ensure that the United States does not “expel or return”

noncitizens to any place where they face likelihood of persecution. I.N.S. v. Aguirre-Aguirre,

526 U.S. 415, 427 (1999). And as part of the Foreign Affairs Reform and Restructuring Act of

1999 (“FARRA”), Congress implemented Article 3 of CAT in the INA, making explicit the

prohibition against refoulement:

       It shall be the policy of the United States not to expel, extradite, or otherwise effect the
       involuntary return of any person to a country in which there are substantial grounds for
       believing the person would be in danger of being subjected to torture . . . .

FARRA § 2242(a), Pub. L. No. 105-207, Div. G. Title XXI, 112 Stat. 2681 (codified at 8 U.S.C.

§ 1231 note).




4
 ​Although not a party to the 1951 Refugee Convention, the United States adopted the 1967
Protocol Relating to the Status of Refugees, which incorporates the Refugee Convention’s
non-refoulement prohibition. See 1967 Protocol Relating to the Status of Refugees, art. 1(1) &
7(1) (stating that signatories “undertake to apply articles 2 to 34 inclusive of the [Refugee]
Convention” without reservation).
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        84.      Therefore, as adopted and statutorily codified, the non-refoulement guarantees in

both the Refugee Convention and CAT provide procedural safeguards that prohibit removal or

return of non-citizens to countries where their life or liberty may be threatened. ​See generally

I.N.S. v. Stevic,​ 467 U.S. 408, 426 (1984) (recognizing non-citizens’ statutory “entitlement” to

withholding under § 1231(b)(3)); ​Khouzam v. Attorney General,​ 549 F.3d 235, 256–57 (3d Cir.

2008) (“[T]he basic dictates of due process must be met . . . where, as here, mandatory statutory

relief [is] at issue.”).

B. ​The Pre-July 16, 2019 Expedited Removal and Credible Fear Process

        85.      Prior to 1996, noncitizens were generally entitled to a full hearing in immigration

court before they could be removed, whether they were seeking admission at the border or had

already entered the country. They were also entitled to administrative appellate review before

the BIA and judicial review in federal court.

        86.      In 1996, Congress enacted legislation that established a highly truncated removal

mechanism called “expedited removal” that could be used for certain noncitizens seeking

admission. Noncitizens subject to expedited removal are ordered removed by an immigration

officer “without further hearing or review.” 8 U.S.C. § 1225(b)(1)(A)(i).

        87.      Congress, however, was careful to carve out an exception for individuals who

express a fear of return to their home countries. ​See ​8 U.S.C. § 1225(b)(1)(B); 8 C.F.R. §

208.30(f).

        88.      If an individual indicates a fear of returning to his or her home country or

intention to apply for asylum, the immigration officer must refer the individual for an interview

with an asylum officer, called a “credible fear” interview.        8 U.S.C. §§ 1225(b)(1)(A)(ii),



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1225(b)(1)(B); 8 C.F.R. § 235.3(b)(4); ​see also ​8 C.F.R. § 208.30. If the noncitizen is referred to

an asylum officer, the officer conducts (with the assistance of an interpreter if necessary) a

rudimentary “credible fear interview” which is designed “to elicit all relevant and useful

information bearing on whether the applicant has a credible fear of persecution or torture.” 8

C.F.R. § 208.30(d).         The asylum officer must “conduct the interview in a non-adversarial

manner.”     ​Id.     Further, in determining whether credible fear is satisfied, the officer must

“consider whether the alien’s case presents novel or unique issues that merit consideration in a

full hearing before an immigration judge.” 8 C.F.R. 208.30(e)(4).

       89.          At the conclusion of the interview, if the asylum officer makes a negative credible

fear determination, the officer must provide a written record of the determination that “shall

include . . . the officer’s analysis of why, in light of [the] facts, the alien has not established a

credible fear of persecution.” 8 U.S.C. § 1225(b)(1)(B)(iii)(II).

       90.          Upon the individual’s request, the agency must provide for prompt review of the

asylum officer’s negative credible fear determination by an immigration judge. 8 U.S.C. §

1225(b)(1)(B)(iii)(III); ​see also ​8 C.F.R. § 208.30(g)(1). [“shall include an opportunity to be

heard and questioned by the immigration judge,” but “shall be concluded as expeditiously as

possible, to the maximum extent practicable within 24 hours, but in no case later than 7 days.”

Id. § 1225(b)(1)(B)(iii)(II).] In conducting that review, the immigration judge has access to

“[t]he record of the negative credible fear determination.” 8 C.F.R. § 208.30(g)(2).               The

immigration judge’s decision is administratively “final and may not be appealed.” 8 C.F.R. §

1208.30(g)(2)(iv)(A). Noncitizens undergoing credible fear review before immigration judges




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are still in expedited removal proceedings, and do not get the full panoply of rights available in

regular immigration court removal proceedings.

       91.     Noncitizens who receive a negative credible fear determination are issued an

expedited removal order, which comes with significant consequences, beyond removal itself.

Noncitizens who are removed pursuant to expedited removal orders are subject to a five-year bar

on admission to the United States. 8 U.S.C. § 1182(a)(9)(A)(i).

       92.     To ultimately prevail on an asylum claim the applicant need only establish that

there is a 10% chance that he or she will be persecuted on account of one of the five protected

grounds for asylum. To prevail at a credible fear interview, however, the applicant need only

show a “significant possibility” of asylum eligibility—i.e., a “significant possibility” of a 1 in 10

chance of persecution, or a ​fraction ​of 10%. ​See 8​ U.S.C. §1225(b)(1)(B)(v) (defining credible

fear as “a significant possibility, taking into account the credibility of the statements made by the

alien in support of the alien’s claim and such other facts as are known to the officer, that the alien

could establish eligibility for asylum[.]”).

       93.     If a noncitizen is found by the asylum officer to have a “credible fear,” the

individual is taken out of the expedited removal process and referred for a regular removal

hearing before an immigration judge. At that hearing, they will have the opportunity to develop

a full record before the judge, and they may appeal an adverse decision to the BIA and federal

court of appeals. 8 C.F.R. § 208.30(f); ​see also​ 8 U.S.C. § 1225(b)(1)(B)(ii).

       94.     The reason for the low threshold at the credible fear stage is straightforward. An

asylum claim is highly fact-specific and often will take significant time, resources and expertise

to develop, including expert testimony and extensive evidence about country conditions. It may



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also involve complex legal questions. In the expedited removal system, however, abbreviated

credible fear proceedings occur within days of arrival, with little or no preparation or assistance

by counsel, little to no knowledge of asylum law by the applicant, and no opportunity to examine

witnesses or gather evidence, while the individual is detained. It is thus highly unrealistic for

applicants in the expedited removal system to present a fully developed asylum claim.

Accordingly, Congress established a low threshold at the credible fear stage to ensure that

potentially valid asylum claims could be developed properly in a full trial-type hearing before an

immigration judge. Congress viewed this credible fear process as an essential safeguard to

ensure bona fide asylum seekers would not be summarily removed.

           95.      The threshold safeguards in place for applicants seeking protection from

persecution or torture have now been eliminated. As a result of Defendant’s changes in policies,

practices, directives and guidance, no longer can a parent or child demonstrate a significant

likelihood of success in asylum proceedings – now that mother and child carry a much higher

burden. Such a high burden will result in many applicants, including vulnerable children, being

returned to persecution or torture.

C.         Current Expedited Removal, Credible Fear and Reasonable Fear Process

           96.      On July 16, 2019, the government Defendants published a regulation that purports

to ban asylum applications from any asylum seekers who passed through any third country on

the way to the United States without applying for protection (the “Asylum Ban”). That policy is
                           5
not challenged here. Rather, subsequent to the new Asylum Ban, the government Defendants

have radically changed their handling of procedures to evaluate migrants in expedited removal


5
    ​Barr v. East Bay Sanctuary Covenant,​ 588 U.S. ___ (Sept. 11, 2019), is pending ​class action litigation
challenging the Asylum Ban.
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for asylum, withholding of removal and relief under the Convention Against Torture. These

changes in procedure and policy are chaotic, and do not comport with existing federal law,

regulations and agency policies in violation of the APA and the ​Accardi ​doctrine.

       97.      In the new regulations, if the government determines during initial screening that

an alien subject to expedited removal is barred from asylum eligibility, the alien is issued a

negative credible fear determination. The alien is then placed in proceedings to determine if a

reasonable fear of persecution exists for withholding of removal or Convention Against Torture

(CAT) protection. If the alien does not establish a reasonable fear of persecution during the

interview, the asylum office issues a written notice of decision, subject to immigration judge

review under the higher standard of reasonable fear.

       98.      While the regulation purports to not change the credible fear standard, it states

that aliens subject to the asylum bar are categorically unable to establish a significant possibility

of asylum eligibility, and prevents further screening from taking place under the credible fear

standard.

D.     Impact of the New Process on the Plaintiffs

       99.      Since July 16, 2019, Plaintiffs have been subjected to a series of policy changes at

the South Texas Family Residential Center, located in Dilley, Texas. Defendants have

unilaterally eliminated procedural protections proscribed to each Plaintiff by statute and

regulation in order to frustrate their ability to successfully seek protection from persecution and

torture in the United States.

       100.     In the aggregate, Defendants’ new regulation and changes to directives,

guidelines, policies and procedures eliminate access to safe harbor for families seeking



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protection from persecution and torture. While some of the policy changes implemented by the

Defendants flow from the application of the new “Asylum Ban,” other recent changes are

independent, yet serve the same purpose: to prevent access to legal protections in the United

States. Upon reason and belief, since July 16, 2019 the credible fear passage rates at the South

Texas Family Residential Center have diminished from approximately 97% of credible fear

applicants, to fewer than 10% of applicants.

       101.     Prior to the initiation of their credible fear screenings, Plaintiffs (who are wholly

comprised of mothers and their children) completed dangerous and arduous journeys to the

United States, subsequent to incidents of sexual and physical violence, or threats of violence, that

triggered their flights from their home countries. As a consequence of this past trauma, many of

the Plaintiffs suffer from symptoms of post-traumatic stress disorder (“PTSD”), anxiety, and

depression.

       102.     After completing the journey to the United States – which lasted for more than a

month for some Plaintiffs – all of the Plaintiffs were apprehended and placed in CBP custody,

where they remained for days in cages and/or cement cells, without access to privacy, showers,

beds, telephones, pillows, hot meals, or adequate medical attention.

       103.     Against this backdrop, while in CBP custody, Plaintiffs were placed in

proceedings under Section 235 of the INA and issued an Order of Expedited Removal.

       104.     Despite the fact that there has been no change to the Defendants’ treaty or

statutory obligations, in the last 60 days, the Defendants have issued a series of ever-changing

regulations, directives, guidelines, policies and procedures and have applied these constantly

shifting standards in the Plaintiffs’ credible fear screenings.



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         105.     The chaotic and changing credible fear paradigm has wrought havoc on the

Plaintiffs’ credible fear process. The legal standard applied to the Plaintiffs’ cases has changed

unexpectedly and without meaningful explanation to the Plaintiffs throughout each part of their

process. For many Plaintiffs, the law that dictated the outcome of their case was different when

they were placed into proceedings, different at the time of their first interview, different when

they had a second interview, and different at the time of their final follow-up interview. And it

will be different yet again, when they present in front of the immigration judge to seek review of

their negative credible fear determinations.

         106.     The dramatic instability in the credible fear screening process since July 16, 2019

has prejudiced Plaintiffs, more than half of whom are children. Since their proceedings began,

Plaintiffs have experienced a constant state of confusion because they have been denied the

opportunity to understand the basis on which their fear would be evaluated. Plaintiffs have a

right to a legal orientation in advance of their credible fear interviews. The Defendants’ failure to

appropriately and meaningfully orient the Plaintiffs in advance of their interview – and

throughout the interview in accordance with the changing process and standard to which they

were subjected – has effectively denied them their right to be oriented to the credible fear

process, as established in 8 C.F.R § 235.3(b)(4)(i). Defendants’ “​Failure to Meaningfully Orient

Proper Legal Standard Policy​”6 has denied Plaintiffs their right to understand and participate in

their proceedings and to meaningfully understand what laws are applicable to them in the

threshold screening process.




6
 In the absence of official policy directive names (prior to the discovery process), this complaint presents alternative
policy names for the purposes of clarity.

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          107.     Defendants have also implemented a new policy of proceeding with fear

interviews absent necessary training and direction for the asylum officers charged with

conducting them. Upon information and belief, Defendants have conspired to limit the

information they put forth in writing, impeding necessary training opportunities and direction for

front-line adjudicators. This policy, the “​Proceed Before Training and Written Guidance Policy,​ ”

has impacted the integrity and consistency of credible fear interviews conducted by the asylum

office. Each variation of the changing policies and practices has been implemented inconsistently

and haphazardly to the detriment of each Plaintiff. Asylum officers did not receive training

relevant to the proper application of the Asylum Ban, including training regarding the trafficking

exception and how to assess whether or not the Asylum Ban applies to a given credible fear

applicant, in advance of Plaintiffs credible fear interviews. During some interviews, supervisors

interrupted the interview after an interview had already begun to announce in English to the

officer, “apply the bar,” subsequent to discovery of a new court order.

          108.     Defendants’ “​Eliminate Supervisory Review and Concurrence of Credible Fear

Determination Directive”​ has compounded Defendants’ “Proceed Before Training and Written

Guidance Directive”. Subsequent to July 16, 2019 the asylum office has eliminated supervisory

review of credible fear determinations in violation of 8 C.F.R. §§ 208.30(e)(7), 235.3(b)(2),

(b)(7).    Based upon this new directive, interviewing asylum officers unilaterally denied

Plaintiffs’ credible fear claim, and announced their determination, prior to completion of

supervisory asylum officer review and concurrence.

          109.     Many Plaintiffs were interviewed not once, but three or more times on three

separate dates, over a timespan of several weeks or more. The delay in final adjudication of each



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Plaintiffs’ claims prejudiced each Plaintiff’s ability to recall what was discussed at their prior

interview, and to participate meaningfully in their interview. This impacted Plaintiffs’ ability to

access counsel during each separate meeting with the asylum office, which occurred without

sufficient or any advance written notice.

       110.     A credible fear interview is psychologically demanding and difficult. It requires

the asylum seeker to describe the circumstances that gave rise to their fear of persecution.

Asylum seekers must present deeply personal, stigmatizing, and traumatizing details. Frequently,

these details have never been relayed to another person, and their disclosure brings the

asylum-seeker shame, fear, and/or renewed trauma. Credible fear applicants must also answer

complicated and nuanced follow-up questions. Extending the interview process over a long

period of time impacted the Plaintiffs by prolonging their detention in government custody,

which exacerbated the negative consequences they have experienced as a result of their ongoing

detention.

       111.     Being subjected to repeated interviews, without thoughtful and accessible

explanation through the statutorily required orientation process, limited Plaintiffs’ meaningful

participation in their credible fear proceeding.

       112.     The application of Asylum Ban has impeded Plaintiffs’ right to a non-adversarial

interview, in accordance with the new “​Declare a Negative Decision in the Middle of the

Screening Directive​.” Subsequent to July 16, 2019 the asylum office implemented a policy of

having the interviewing asylum officer announce a negative credible fear decision to the

applicant, directly, in the middle of their credible fear interview. Previous to this new policy,

negative decisions were never announced during an interview itself, but made subsequent to the



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entirety of the interview process, after all testimony was solicited in support of the

asylum-seekers claim during a non-adversarial interview. This new policy violates each

Plaintiff’s right to a non-adversarial interview and creates a hostile interview environment that

chills the testimony of credible fear applicants. ​See ​8 C.F.R. § 208.30(d). ​As an outcome of this

policy, Plaintiffs believed at the outset of their interview that their deportation was certain. Many

Plaintiffs report feeling paralyzed, overwhelmed, intimidated and confused the moment they

were informed their credible fear interview was denied. Other Plaintiffs report giving up before

their interview had ever truly begin, believing their case was a lost cause.

       113.     Defendants have also implemented a new “​Limit Fact-Finding Relevant to a

Significant Possibility of Eligibility for Asylum, Withholding of Removal, and Relief Under the

Convention Against Torture Directive​.” This Directive encourages asylum officers to limit

questioning that solicits testimony necessary to evaluate an asylum-seeker’s eligibility for

asylum, withholding of removal, and protection against the Convention Against torture under the

“significant possibility” standard required for credible fear proceedings. Based upon this new

policy, Defendants fail to adequately evaluate whether or not an asylum-seeker merits a positive

credible fear finding based upon eligibility and erroneously issue negative credible fear findings.

       114.     While Defendants have stripped Plaintiffs of procedural protections required in

credible fear proceedings, they have simultaneously denied Plaintiffs the benefit of mandatory

procedures available to individuals seeking protection under Withholding and the CAT. The

policy of subjecting Plaintiffs to a higher burden in threshold fear screening violates mandatory

obligations to ensure that no applicant is returned to a country where they will be subjected to

persecution or torture. Defendants have heightened the burden on Plaintiffs unlawfully, and at



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the same time, have failed to provide procedural safeguards normally present in heightened fear

proceedings.

       115.     Individuals placed in reasonable fear proceedings under section 241 of the INA

have a right to (1) advance written notice of their reasonable fear interview, (2) in-person

orientation to their reasonable fear proceeding by an asylum officer at least 48 hours in advance

of their interview, and (3) access to counsel during their reasonable fear proceeding. Although

Plaintiffs were placed in credible fear proceedings under INA 235, Defendants’ application of

the procedural protections available in reasonable fear proceedings while evaluating Plaintiffs’

under the heightened reasonable fear standard, or “​RFI Standard Without RFI Protections

Directive​” defies the law under both credible and reasonable fear proceedings.

       116.     Defendants’ have also implemented a new policy directive of rejecting the most

favorable case law in credible fear proceedings, when assessing an asylum-seekers eligbility for

withholding of removal and relief under the Convention Against Torture. The “​Failing to Apply

Most Favorable Precedent in CFI Proceedings Directive”​ ignores the permanent injunction

issued in ​Grace v. Whitaker,​ 344 F. Supp. 3d 96, (D.D.C. 2018) which requires the asylum

officer to apply the most favorable circuit court precedent in credible fear proceedings,

regardless of where an asylum-seeker is detained.

       117.     In addition to new directives related to the application of the Asylum Ban and

applied to each individual Plaintiff, Defendants have also established three additional policies to

ensure the smallest percentage of families placed in credible fear proceedings obtain positive

credible fear proceedings.




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       118.       Upon information and belief, USCIS has implemented a “​Mandatory

Concurrence Review by the Fraud Detection Unit Directive.​ ” This new directive requires any

and all cases that have received a positive fear finding by the interviewing asylum officer, and

positive fear concurrence by the supervisory asylum officer, to be reviewed by USCIS’s Fraud

Detection and National Security Directorate. Upon information and belief, this new procedure

—which applies only to asylum-seekers slated to be issued positive credible fear findings—has

resulted in mandatory rescission of the overwhelming majority of cases sent for review

subsequent to a follow-up interview conducted in response to guidance provided by the Fraud

Detection unit.

       119.       Relatedly, the asylum office has a new policy of “​Withholding Facts Relied Upon

in Issuing the Credible Fear Determination​.” The asylum officer is required to create a written

record of his or her determination, including a summary of all material facts as stated by the

applicant, and any additional facts relied upon by the officer, in issuing the credible fear

determination. 8 CFR 208.30(e)(1). In conflict with this regulatory mandate, the asylum office

now withholds critical information relied upon when issuing a negative fear determination.

       120.       The asylum office has also implemented a new policy abandoning child-sensitive

treatment in credible fear proceedings, including the “​Telephonic Interview Directive”​ for

families detained at the South Texas Family Residential Center. Since the inception of the South

Texas Family Residential Center, asylum officers have conducted in-person interviews with

mothers and children who are detained in Dilley, Texas. This practice allowed asylum officers to

apply child-friendly procedures during the interview process, and to provide protections

necessary to mothers, who are required to proceed with their credible fear interview while tasked



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with caring for their child. Prior policy allowed asylum officers to ensure mothers who did not

feel comfortable providing testimony in the presence of their children were able to leave their

children in daycare, and to build trust and rapport with a child in-person prior to questioning the

child regarding their history of persecution. Some plaintiffs were deprived necessary

accommodations related to their age and status as asylum-seekers traveling in a family unit in

conflict with long-standing asylum office practice.7

         121.     Plaintiffs reserve the right to amend this Complaint to rename the above directives

as the official designations become known through discovery, and to add other unlawful

directives as they become known through the discovery process.

         122.     The ​Accardi doctrine stands for the unremarkable proposition that an agency must

abide by its own regulations. Thus, an agency's failure to afford an individual procedural

safeguards required under its own regulations may result in the invalidation of the ultimate

administrative determination.

D.   Defendants’ Public Statements Regarding Their Goal to Undermine Asylum
Protections

         123.     Rather than comply with our asylum laws, Defendants have been open about their

desire to weaken asylum protections, particularly for vulnerable immigrant children and families

from Central America. Indeed, Defendants have repeatedly expressed their hostility towards the

asylum claims of such children and families and urged higher credible fear screening standards

in order to speed the removal of such individuals. The new policies seek to advance these goals.



7
    ​USCISAsylum Division. Asylum Officer Basic Course: Guidelines for Children’s Asylum
Claims (Mar. 21, 2009). ​Available at
https://cliniclegal.org/sites/default/files/AOBTC_Lesson_29_Guidelines_for_Childrens_Asylum
_Claims_0.pdf​ ​(last visited September 16, 2019).
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        124.     Thus, the unlawful efforts to heighten the credible fear standard evinced in the

Defendants’ new credible fear policies culminated from Defendants’ expressed desire to change

that standard. But none of the Defendants have the power to change the credible fear standard,

which can be changed only by Congress.

E. The New Credible Fear Policies Place Plaintiffs in Grave Danger

        125.     Under the correct legal standards, each of the Plaintiffs should have easily passed

their credible fear interview or reasonable fear interview, and would have been referred for

regular removal proceedings to seek asylum and other relief from removal. Instead, because of

the new credible fear policies, they were each issued a negative credible fear determination.

        126.     Many other bona fide asylum applicants who meet the credible fear standard

similarly have received and will receive negative credible fear determinations based on the new

policies.

        127.     Defendants’ new policies are depriving Plaintiffs their right to pursue potentially

meritorious claims for protection. Indeed, immigration service providers across the country have

already reported that the new credible fear policies are causing a dramatic increase in the

proportion of asylum seekers who receive negative credible fear determinations.

        128.     The result of these policies is that children and their mothers have been and will

be sent back to countries that have been cited for their pervasive and widespread violence against

women and childen, including domestic violence, rape, and beatings, and other abuse by gangs.

For example, it has been widely recognized, including by the U.S. State Department in 2018, that

El Salvador has one of the highest homicide rates in the world, and Amnesty International has

described El Salvador as “one of the most dangerous countries to be a woman.” Numerous other



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reports, including by UNHCR, have documented that gender-motivated killings and other

murders of women in El Salvador, Honduras and Guatemala are commonplace, and that Central

American gangs perpetrate “pervasive, pernicious, and often uncontrollable violence and

disruption in the region.” Human rights reports have also widely documented the systemic

failures in state protection in Central American countries.

          129.     Indeed, numerous migrants from Central American who were deported from the

United States have suffered brutal harms, including death, after returning to their home countries.

For example, one study documented that up to 83 individuals deported to Northern Triangle

countries between 2014 and 2015 have been killed.

          130.     Without judicial intervention the Defendants will be able to effectively rewrite the

expedited removal scheme and substantive asylum law to achieve the policy goal of eliminating

the ability of Central American children to seek safety in the United States.

                               FIRST CLAIM FOR RELIEF
        (Refugee Act, Immigration and Nationality Act, Administrative Procedures Act)

          131.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          132.     Pursuant to 8 U.S.C. § 1252(e)(3), judicial review is available before the Court

regarding whether “a written policy directive, written policy guideline, or written procedure

issued by or under the authority of the Attorney General to implement [8 U.S.C. § 1252(b)] is not

consistent with applicable provisions of [Subchapter II of the INA] or is otherwise in violation of

law.”

          133.     The Administrative Procedure Act (“APA”), 5 U.S.C. § 706, provides that a Court

“shall hold unlawful and set aside agency action, findings, and conclusions found to be—(A)


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arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)

contrary to constitutional right, power, privilege, or immunity; [or] (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.”

        134.     The new policies related to expedited removal proceedings violate the INA and

the Refugee Act and are arbitrary and capricious and contrary to law under the APA for multiple

reasons. Among other reasons, the new policies conflict with the definition of “refugee,” ​see 8​

U.S.C. §§ 1101(a)(42)(A), 1158(b)(1)(A); conflict with the credible fear standard at 8 U.S.C. §

1225(b)(1)(B)(v); represent a departure from the agency’s longstanding policy without an

acknowledgment of or a reasoned explanation for that departure; are illogical and irrational; and

deprive applicants of a meaningful opportunity to establish their potential eligibility for asylum,

withholding of removal, and CAT relief pursuant to 8 U.S.C. §§ 1158(b)(1), 1225(b)(1)(B), and

1231.

        135.     In determining whether an alien is eligible for protection under the Convention

Against Torture, the threshold determination at an interview is whether or not the alien has

demonstrated a “significant possibility that he or she is eligible for...deferral of removal under

the Convention Against Torture.” 8 C.F.R. §208.30(e)(3).

        136.     The newly promulgated regulations have mandated that aliens deemed ineligible

for asylum are to be assessed under a “reasonable possibility” threshold, rather than the lower

threshold “significant possibility” requirement.

        137.     Upon information and belief, this assessment is conducted without assessing

whether aliens fall under exceptions to the newly promulgated regulations, such as human

trafficking exceptions. This assessment also denies aliens protections associated with reasonable



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fear interviews, such as access to counsel, advance notice of their interviews, and an in-person

orientation by an asylum officer.

          138.     Defendants’ application of the procedural protections available in reasonable fear

proceedings while evaluating Plaintiffs’ under the heightened reasonable fear standard, or “RFI

Standard Without RFI Protections Directive” defies the law under both credible and reasonable

fear proceedings.

          139.     As a result, the new asylum procedures/policies are contrary to law. ​See ​5 U.S.C.

§ 706(2)(A).

                           SECOND CLAIM FOR RELIEF
 (Separation of Powers, Immigration and Nationality Act, Administrative Procedure Act)

          140.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          141.     The doctrine of separation of powers is embodied in the U.S. Constitution. The

Constitution establishes the paramount authority of the Judiciary to interpret the law—“to say

what the law is,” ​Marbury v. Madison​, 5 U.S. (1 Cranch) 137 (1803)—and to render decisions

that bind the other branches of government in our constitutional system. The Executive

Branch—like Congress—is bound by the decisions issued by the federal courts. Respect for the

controlling authority or judicial opinions and judgments is a fundamental component of the rule

of law. The new policies and regulations violate the separation of powers; violate the INA,

including the credible fear standard at 8 U.S.C. § 1225(b)(1)(B)(v); and are arbitrary and

capricious and contrary to law under the APA.

                              THIRD CLAIM FOR RELIEF
      (Due Process Clause of the Fifth Amendment to the United States Constitution)



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          142.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          143.     Plaintiffs have protected interests in applying for asylum, withholding of removal,

and Convention Against Torture relief upon a showing that meets the applicable standards, and

in not being removed to a country where they face serious danger and potential loss of life.

          144.     Plaintiffs are entitled under the Due Process Clause to a fair hearing of their

claims, and a meaningful opportunity to establish their potential eligibility for asylum and related

relief from removal.

          145.     The new policies and regulations have violated Plaintiffs’ right to due process in

numerous respects, including by foreclosing their claims regardless of their individual facts or

merits; by applying an unlawful, more burdensome legal standard to Plaintiffs’ claims; and by

depriving them of a meaningful opportunity to establish their potential eligibility for asylum and

related relief.

                                  FOURTH CLAIM FOR RELIEF
                                   (​Administrative Procedure Act)

          146.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          147.     The Administrative Procedure Act (“APA”) requires notice and opportunity for

comment prior to the promulgation of a rule. 5 U.S.C. § 553(b), (c).

          148.     The government Defendants’ nondiscretionary procedures for screening for

threshhold credible fear as the first step in evaluatint the Plaintiffs’ eligibility for asylum and

related relief, as well as for determining whether an individual is more likely than not to face

persecution or torture in a specific country, and thus precluded from being returned to that


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country during the pendency of removal proceedings, constitutes a rule that requires

notice-and-comment rulemaking.

          149.     The government Defendants did not promulgate a rule or engage in

notice-and-comment rulemaking before implementing their new procedures for evaluating fear

for asylum, withholding of removal and relief under the Convention Against Torture.

          150.     The APA requires that a substantive rule be published “no less than 30 days

before its effective date.” 5 U.S.C. § 553(d).

          151.     The government Defendants failed to appropriately publish its new asylum,

withholding and CAT fear screening procedures, and related guidance 30 days before their

effective date.

                                    FIFTH CLAIM FOR RELIEF
                                   (Administrative Procedure Act)

          152.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          153.     The APA provides that courts “shall . . . hold unlawful and set aside agency

action” that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. §§ 702, 706(2)(A). The policies and procedures of ICE, CBP and USCIS are

binding upon those agencies pursuant to the Accardi doctrine, and the APA grants the Plaintiffs

the right to challenge the failure of those agencies to comply with their own rules, regulations,

and guidance. ​See, e.g., Damus v. Nielsen​, 313 F. Supp. 3d 317 (D.C. Dist. Court 2018) (stating

“[i]t has long been settled that a federal agency must adhere firmly to self-adopted rules by

which the interests of others are to be regulated,” ​citing Mass. Fair Share v. Law Enf't Assistance

Admin.​, 758 F.2d 708, 711, 244 U.S. App. D.C. 388 (D.C. Cir. 1985)).


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          154.     The ​Accardi ​doctrine is enforced via the mechanism of § 706(2) of the APA. ​See,

Damus v. Nielsen,​ 313 F. Supp. 3d at 335-341; ​see also, Torres v. U.S. Dep’t of Homeland Sec.,​

2017 U.S. Dist. LEXIS 161406, 2017 WL 4340385, at *5-6 (S.D. Cal. Sept. 29, 2017) (holding

that the failure of DHS to follow its own Operating Procedures governing Deferred Action for

Childhood Arrivals, or DACA, in terminating the plaintiff’s status was properly framed as a

claim that the agency’s actions were ‘arbitrary, capricious, and an abuse of discretion’ pursuant

to the APA).

          155.     The government Defendants’ new regulation, directives, guidance, policies and

procedures are arbitrary, capricious, and contrary to law, in that they do not comport with

established agency directives, policies and procedures for determining whether individuals face a

“credible fear,” or a likelihood of persecution or torture, and as such, they are presumptively

invalid.

          156.     Moreover, the government Defendants have not articulated a reasoned

explanation for their decision to adopt these new procedures; have failed to consider relevant

factors; have relied on factors Congress did not intend to be considered; and have offered

explanations for their decision that are counter to the evidence before the agency.

                                 SIXTH CLAIM FOR RELIEF
                  (Immigration and Nationality Act, Withholding of Removal, and
                                 Administrative Procedure Act)

          157.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          158.     The 1951 Refugee Convention and the 1967 Protocol relating to the Status of

Refugees, to which the United States is party, requires that the United States not “expel or return



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(‘refouler’) a refugee in any manner whatsoever to the frontiers of territories where his life or

freedom would be threatened on account of his race, religion, nationality, membership of a

particular social group or political opinion.” United Nations Convention Relating to the Status of

                                                              ​ rotocol Relating to the Status of
Refugees, art. 33, July 28, 1951, 189 U.N.T.S. 150; ​see also P

Refugees, Jan. 31, 1967, 19 U.S.T. 6223, 606 U.N.T.S. 267.

          159.     The Refugee Convention prohibits the return of individuals to countries where

they would directly face persecution on a protected ground as well as to countries that would

deport them to conditions of persecution.

          160.     Congress has codified these prohibitions in the “withholding of removal”

provision at INA § 241(b)(3), 8 U.S.C. § 1231(b)(3), which bars the removal of an individual to

a country where it is more likely than not that he or she would face persecution.

          161.     Pursuant to regulation, only an immigration judge can determine whether an

individual faces such a risk of persecution and is entitled to withholding of removal after full

removal proceedings in immigration court. 8 C.F.R. § 1208.16(a).

          162.     The new agency regulation, directives, guidance, policies and procedures

regarding fear screening adopted pursuant to the Asylum Ban provide none of these safeguards

to ensure the critical protection against ​nonrefoulement ​and therefore violates Section 1231(b)(3)

and its implementing regulations.

                             SEVENTH CLAIM FOR RELIEF
             (Immigration and Nationality Act, and Administrative Procedure Act)

          163.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.




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        164.     The INA provides, with certain exceptions, that “[a]ny alien who is physically

present in the United States or who arrives in the United States (whether or not at a designated

port of arrival and including an alien who is brought to the United States after having been

interdicted in international or United States waters), irrespective of such alien’s status, may apply

for asylum in accordance with this section or, where applicable, section 1225(b) of this title.” 8

U.S.C. § 1158(a)(1).

        165.     The APA provides that courts “​shall . . . hold unlawful and set aside agency

action” ​that is “​ ​in excess of statutory jurisdiction, authority, or limitations, or short of statutory

right.​ ” 5 U.S.C. § 706(2)(C).

        166.     The APA provides that courts “​shall . . . hold unlawful and set aside agency

action” ​that is “​without observance of procedure required by law.​ ” 5 U.S.C. § 706(2)(D).

        167.     The following laws require access to immigration judicial review of the

conditions under which noncitizens are detained or released:

            a. 19 U.S.T. 6223, art. 33 § 1 provides that the United States will not “expel or

                 return (‘​refouler’​ )” refugees to any country that may subject them to persecution

                 itself, or transfer refugees to a third country that may subject them to persecution;

            b. 8 U.S.C. § 1231(b)(3) as implemented by 8 C.F.R. 1208.16(a) provides for review

                 of ​nonrefoulment​ decisions by an immigration judge;

        168.     Because the new procedures are “not in accordance with law” and should

therefore be held unlawful and set aside under 5 U.S.C. § 706(2)(C)-(D).

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully pray that the Court grant the following relief:



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  a) Declare the new regulation, directives, guidance, policies and procedures

     contrary to law;

  b) Enter an order vacating the new regulation, directives, guidance, policies and

     procedures;

  c) Enter an order enjoining Defendants from continuing to apply the new

     regulation, directives, guidance, policies and procedures to credible fear

     determinations, reasonable fear determinations, interviews, or hearings issued

     or conducted by asylum officers or immigration judges;

  d) Enter an order staying the application of the new regulation, directives,

     guidance, policies and procedures to each of the Plaintiffs;

  e) Enter an order enjoining Defendants from issuing and/or executing expedited

     removal orders with regard to the Plaintiffs;

  f) Enter an order enjoining Defendants from removing the Plaintiffs without first

     providing each of them with a new credible fear process or reasonable fear

     process (as appropriate) under correct legal standards or, in the alternative,

     full immigration court removal proceedings pursuant to 8 U.S.C. § 1229a;

  g) Enter a Temporary Restraining Order and a Preliminary Injunction

     maintaining the status quo by requiring the government Defendants to

     reprocess the Plaintiffs’ fear claims under the accepted prior policies;

  h) Order Defendants to pay Plaintiffs’ litigation costs and reasonable attorney

     fees pursuant to the Equal Access to Justice Act; and




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               i) Order all other relief that the Court deems just and proper to ensure that the

                   government Defendants act according to law.

Respectfully submitted this 16​th​ day of September, 2019.

                                                     Respectfully Submitted,

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